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 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                            UNITED STATES DISTRICT COURT
1l
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,               No. CR     ~~ w n ~~~012~
13                                                    ~~   ~v t.    lJ
               Plaintiff,
14                                           GOVERNMENT'S NOTICE OF REQUEST FOR
                                             DETENTION
15
     EDWARD BUCK,
16
               Defendant.
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18        Plaintiff, United States of America, by and through its counsel

19   of record, hereby requests detention of defendant and gives notice of

20   the following material factors:

21       1.    Temporary 10-day Detention Requested (~ 3142(d)) on the

22             following grounds:

23            a.    present offense committed while defendant was on release

24                  pending (felony trial),

25       ❑    b.    defendant is an alien not lawfully admitted for

26                  permanent residence; and

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 1            c.    defendant may flee; or

 2            d.    pose a danger to another or the community.

 3       2.    Pretrial Detention Requested (~ 3142(e)) because no

 4             condition or combination of conditions will reasonably

 5             assure:

 6       ❑
         X     a.    the appearance of the defendant as required;

 7             b.    safety of any other person and the community.
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 8       3.    Detention Requested Pending Supervised Release/Probation

 9             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

10             ~ 3143(a)):

11       n     a.    defendant cannot establish by clear and convincing

12                   evidence that he/she will not pose a danger to any

13                   other person or to the community;

14       n     b.    defendant cannot establish by clear and convincing

15                   evidence that he/she will not flee.

16   ❑   4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.

17             ~ 3142(e)):

18       n     a.    Title 21 or Maritime Drug Law Enforcement Act (~~MDLEA")

19                   (46 U.S.C. App. 1901 et seq.) offense with 10-year or

20                   greater maximum penalty (presumption of danger to

21                   community and flight risk);

22             b.    offense under 18 U.S.C. ~~ 924(c), 956(a), 2332b, or

23                   2332b(g)(5)(B) with 10-year or greater maximum penalty

24                   (presumption of danger to community and flight risk);

25             c.    offense involving a minor victim under 18 U.S.C.

26                   ~~ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

27                   2251A, 2252(a)(1)-(a) (3), 2252A(a) (1)-2252A(a) (4),

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 1                    2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                    to community and flight risk);

 3              d.    defendant currently charged with an offense described

 4                    in paragraph 5a - 5e below, AND defendant was

 5                    previously convicted of an offense described in

 6                    paragraph 5a - 5e below (whether Federal or

 7                    State/local), AND that previous offense was committed

 8                    while defendant was on release pending trial, AND the

 9                    current offense was committed within five years of

10                    conviction or release from prison on the above-

11                    described previous conviction (presumption of danger to

12                    community).

13        5.    Government Is Entitled to Detention Hearing Under ~ 3142(f)

14              If the Case Involves:

15        ❑     a.    a crime of violence (as defined in 18 U.S.C.

16                    ~ 3156(a)(4)) or Federal crime of terrorism (as defined

17                    in 18 U.S.C. ~ 2332b(g)(5)(B)) for which maximum

18                    sentence is 10 years' imprisonment or more;

19              b.    an offense for which maximum sentence is life

20                    imprisonment or death;

21              c.    Title 21 or MDLEA offense for which maximum sentence is

22                    10 years' imprisonment or more;

23        ❑     d.    any felony if defendant has two or more convictions for

24                    a crime set forth in a-c above or for an offense under

25                    state or local law that would qualify under a, b, or c

~
:~                    if federal jurisdiction were present, or a combination

27                    or such offenses;

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 1               e.   any felony not otherwise a crime of violence that

 2                    involves a minor victim or the possession or use of a

 3                    firearm or destructive device (as defined in 18 U.S.C.

 4                    § 921), or any other dangerous weapon, or involves a

 5                    failure to register under 18 U.S.C. ~ 2250;

 6               f.   serious risk defendant will flee;

 7               g.   serious risk defendant will (obstruct or attempt to

 8                    obstruct justice) or (threaten, injure, or intimidate

 9                    prospective witness or juror, or attempt to do so).

10     ❑    6.   Government requests continuance of             days for detention

11               hearing under ~ 3142(f) and based upon the following

12               reason(s):

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 1          7.    Good cause for continuance in excess of three days exists in

 2                that:

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 8      Dated: September 18, 2019            Respectfully submitted,

 9                                           NICOLA T. HANNA
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10
                                             BRANDON D. FOX
11                                           Assistant United States Attorney
                                             Chief, Criminal Division
12

13                                             /s/ Brittney M. Harris
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14                                           Assistant United States Attorney

15                                           Attorneys for Plaintiff
                                             UNITED STATES OF AMERICA
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